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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

                           CASE NO.: 6:18-CV-1147-ORL-DCJ

 HINES INTERESTS LIMITED PARTNERSHIP,
 a Texas limited partnership; URBAN OAKS
 BUILDERS, LLC, a Delaware limited liability
 company; 1662 MULTIFAMILY LLC, a Delaware
 limited liability company; HINES 1662ev
 MULTIFAMILY, LLC, a Delaware limited liability
 company; HINES INVESTMENT
 MANAGEMENT HOLDINGS LIMITED
 PARTNERSHIP, a Texas limited partnership;
 HIMH GP, LLC, a Delaware limited liability
 company; HINES REAL ESTATE HOLDINGS
 LIMITED PARTNERSHIP, a Texas limited
 partnership; JCH INVESTMENTS, Inc., a Texas
 corporation;

       Plaintiffs,

 v.

 SOUTHSTAR CAPITAL GROUP I, LLC, a
 Florida limited liability company; COTTINGTON
 ROAD TIC, LLC, a Delaware limited liability
 company; DURBAN ROAD TIC, LLC, a
 Delaware limited liability company; COLLIS
 ROOFING, INC., a Florida corporation; DA PAU
 ENTERPRISES, INC., a Florida corporation;
 FLORIDA CONSTRUCTION SERVICES, INC.,
 a Florida corporation; STRUCTURAL
 CONTRACTORS SOUTH, INC., a Florida
 corporation; NAVIGATORS SPECIALTY
 INSURANCE COMPANY, a New York
 corporation; GEMINI INSURANCE COMPANY,
 a Delaware corporation; and IRONSHORE
 SPECIALTY INSURANCE COMPANY, an
 Arizona corporation,

 Defendants.
 ________________________                         ______/
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            NAVIGATORS SPECIALTY INSURANCE COMPANY’S
    OPPOSITION TO PLAINTIFF URBAN OAKS BUILDERS, LLC’S MOTION TO
   TRANSFER VENUE [DOC. 47] AND INCORPORATED MEMORANDUM OF LAW

        Defendant, Navigators Specialty Insurance Company (“Navigators”), by and through its

 undersigned attorneys, submits this Response and Memorandum of Law in opposition to the

 Motion to Transfer Venue [Doc. 47] filed by Plaintiff Urban Oaks Builders, LLC (“UOB”), and

 respectfully requests that the Court deny UOB’s Motion. In support, Navigators respectfully

 states as follows:

                                         INTRODUCTION

        This Court should deny UOB’s Motion to Transfer Venue because UOB has failed to

 show by a preponderance of the evidence that a transfer of venue will best serve the interest of

 justice. Contrary to UOB’s contention that the efficient administration of the bankruptcy estate

 requires transfer of this insurance coverage action to bankruptcy court, such transfer would likely

 slow and increase the cost of the adjudication of this action.    Further, it would contravene the

 interest of justice to transfer a cause of action that revolves around issues where the place of

 occurrence of material events in the underlying construction defect action, Osceola County,

 occurred, and where UOB originally chose to file this action. It is within this Court’s sound

 discretion to deny UOB’s Motion to Transfer Venue, and for all the reasons stated in this

 memorandum in opposition, Navigators respectfully request that it does so.

                                         BACKGROUND

        This insurance coverage dispute (the “Coverage Action”), originally filed by UOB in

 Florida state court, arises from insurance claims related to a construction defect action arising out

 of the construction of a 306-unit apartment project in Celebration, Florida (the “Project”), in the

 matter styled Southstar Capital Group I, LLC, et. al. v. 1662 Multifamily LLC, et. al., Case No.



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 2018-CA-000415, originally filed in the Circuit Court of the Ninth Judicial Circuit in and for

 Osceola County, Florida (the “Construction Defect Action”). [D.E. 2, at ¶¶ 21, 44].

        Plaintiffs allege in this Coverage Action that, in connection with the Project, the

 developer, Hines Interests LP (“Hines”) and UOB, the general contractor on the Project

 (collectively, “Hines/UOB”), procured insurance policies pursuant to a controlled insurance

 program (“CIP”) through the insurer defendants Gemini Insurance Company (“Gemini”),

 Ironshore Specialty Insurance Company (“Ironshore”), and Navigators1 (collectively, the

 “Insurer Defendants”).   Specifically, Gemini issued a primary commercial general liability

 insurance policy to Hines/UOB, Ironshore issued an excess policy to Hines/UOB, and

 Navigators issued a second layer excess policy to Hines/UOB (collectively, the “Insurance

 Policies”).

        In 2016, UOB completed construction of the Project.        Thereafter, Southstar Capital

 Group I, LLC (“Southstar”) purchased the Project from its original owner, an affiliate of Hines.

 Id. at ¶42. On February 13, 2018, Southstar commenced Underlying Action against UOB and

 various business entities affiliated with Hines (collectively, the “Hines Entities”), asserting

 claims for damages caused by defects and deficiencies in the construction of the Project. Id. at

 ¶44-45. On June 7, 2018, the Hines Entities commenced this Coverage Action. On August 31,

 2018, UOB commenced a Chapter 11 bankruptcy case in the United States Bankruptcy Court for

 the Southern District of Texas, Case No. 18-34892 (the “Bankruptcy Court”), and thereafter

 removed the Construction Defect Action to this Court.2




 1
   Also included in the Hines/UOB CIP, but not included in this lawsuit, is Commercial Excess
 Liability Policy number EXC 2101385, issued by Great American Assurance Company with
 limits of $25 million each occurrence/$25 million aggregate limit (where applicable).
 2
   Case No. 6:18-cv-01453-RBD-GJK.
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                                   MEMORANDUM OF LAW

        Courts within the Eleventh Circuit consider 28 U.S.C. § 1412 to be the appropriate

 authority under which a federal court may transfer a proceeding related to a bankruptcy

 proceeding to the district in which the bankruptcy court sits. Chex Sys., Inc. v. DP Bureau, Ltd.

 Liab. Co., No. 8:10-cv-2465-T-33MAP, 2011 U.S. Dist. LEXIS 130392, at *5 n.1 (M.D. Fla.

 Nov. 10, 2011), citing In re Bruno's, Inc., 227 B.R. 311, 323 (N.D. Ala. 1998); In re

 Harnischfeger Indust., Inc., 246 B.R. 421, 434-35 (Bankr. N.D. Ala. 2000). However, some

 other courts consider 28 U.S.C. § 1404 to be the proper authority for this determination. Id.

 “The determination whether to transfer venue under 28 U.S.C. § 1412, however, requires the

 same analysis as under 28 U.S.C. § 1404(a).” Id., citing In re Emerson Radio Corp., 52 F.3d 50,

 55 (3d Cir. 1995).

        28 U.S.C. § 1404(a) provides “[f]or the convenience of parties and witnesses, in the

 interest of justice, a district court may transfer any civil action to any other district or division

 where it might have been brought.” The party seeking a transfer of venue "has the burden of

 persuading the trial court that the transfer is appropriate and should be granted." Sterling v.

 Provident Life & Accident Ins. Co., 519 F. Supp. 2d 1195, 1204 (M.D. Fla. 2006). "In order to

 overcome the presumption in favor of Plaintiff's choice of forum, the movant must show the

 balance of convenience is 'strongly in favor' of the transfer."           American Aircraft Sales

 International, Inc. v. Airwarsaw, Inc., 55 F.Supp.2d 1347, 1351 (M.D. Fla. 1999). "The standard

 of transfer under § 1404(a) allows broad discretion of the trial court." Id.

        The Eleventh Circuit has determined that a court should be somewhat restrictive in

 transferring actions, stating that "the plaintiff's choice of forum should not be disturbed unless

 the movant can show that it is clearly outweighed by other considerations." Id. "The decision to



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 transfer venue is within the discretion of the trial court, and each case should be decided on the

 particular facts." Id. When considering a motion to transfer venue, the Middle District of

 Florida has stated that the following seven (7) factors must be considered:

        Plaintiff's initial choice of forum, convenience of the parties and witnesses,
        relative ease of access to sources of proof, availability of compulsory process for
        witnesses, location of relative documents, financial ability to bear the cost of the
        change, and all other practical problems that make trial of the case easy,
        expeditious, and inexpensive.

 Sterling, 519 F. Supp. 2d at 1204. Here, UOB chose its forum by filing the Coverage Action in a

 Florida court. The parties have retained counsel in Florida and proceeded in accordance with

 this forum selected by UOB. Had UOB wished to initially proceed in Texas, it should have

 selected that forum initially.    UOB’s Motion to Transfer Venue does not provide any

 countervailing arguments satisfying its burden to show that transfer is now appropriate.

 I.     UOB’S BANKRUPTCY STATUS DOES NOT WARRANT TRANSFER OF THIS
        COVERAGE ACTION TO THE TEXAS BANKRUPTCY COURT.

        The primary basis of UOB’s venue transfer request is that its bankruptcy status somehow

 automatically warrants a transfer for referral to the Texas Bankruptcy Court presiding over those

 proceedings. This argument fails. There is nothing about the existence of the bankruptcy case

 itself, other than the fact that it has been filed in Texas, to warrant a transfer of venue, and

 UOB’s Motion to Transfer should be summarily denied.

            A. This Coverage Action Is Not a “Core” Proceeding And Transfer To The
               Texas Bankruptcy Court Would Only Increase Litigation Costs And
               Decrease Judicial Economy.

        This coverage dispute does not arise under the Bankruptcy Code.            For this reason,

 contrary to the arguments asserted by UOB in its Motion to Transfer Venue, it is not a “core”

 proceeding. Rather, at best, it is a non-core proceeding because it is a claim that could have been

 (and in fact was) brought in a district court or a state court, regardless of the existence of the

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 bankruptcy proceeding. See Control Ctr. L.L.C. v. Lauer, 288 B.R. 269, 276-77 (M.D. Fla.

 2002) (“If the proceeding does not invoke a substantial right created by the federal bankruptcy

 law and is one that could exist outside of bankruptcy is not a core proceeding; it may be related

 to the bankruptcy because of its potential effect, but under 157(c)(1) it is "otherwise related" or a

 non-core proceeding.”).

        In a non-core proceeding, a bankruptcy judge may hear the matter and issue

 recommendations, but, absent the consent of the parties, cannot issue a final judgment. British

 Am. Ins. Co. v. Fullerton (In re British Am. Ins. Co.), 488 B.R. 205, 219 (Bankr. S.D. Fla. 2013).

 The district court judge then considers the proposed findings and conclusions of the bankruptcy

 court and may accept, reject or modify them after a de novo review. Id.

        Thus, in the event this case was to be transferred to the Texas Bankruptcy Court, judicial

 effort would actually be multiplied. As a result, the transfer of this matter will not resolve any

 alleged problems of inconsistent rulings or increased judicial economy, and, in fact, will only

 increase litigation costs for the parties. Accordingly, UOB has not shown, and cannot show, that

 there will be any increase in judicial economy or efficiency from the transfer of this matter and

 the Motion to Transfer Venue should be denied.

            B. The Proceeds Of The CIP Insurance Policies Are Not Property Of The
               Bankruptcy Estate.

        It is well settled that all property of the debtor’s estate is subject to the jurisdiction and

 protection of a bankruptcy court. However, to determine whether an insurance policy is property

 of an estate for purposes of § 541 of the Bankruptcy Code, courts distinguish between the

 insurance policies owned by the debtor and the proceeds payable under those policies. In re

 Scott Wetzel Servs., 243 B.R. 802, 804 (Bankr. M.D. Fla. 1999).

        “Although the law is clear that an insurance policy issued to the debtor will generally

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 constitute ‘property of the estate’, the question of whether the proceeds of an insurance policy

 are property of the estate must be analyzed in light of the facts of each case.” Id., quoting Matter

 of Edgeworth, 993 F.2d 51, 55 (5th Cir. 1993). Thus, “a debtor will not have a cognizable

 interest in the proceeds of the typical liability policy because the proceeds will normally be

 payable only for the benefit of those harmed by the debtor under the terms of the insurance

 contract.” See id. (holding that the proceeds of the Chapter 7 debtor’s liability policies, which

 the debtor would not have a right to keep in any event, but which would be paid to third parties

 for whose benefit those policies were obtained, were not included in “property of the estate”). In

 other words, “[t]he question is not who owns the policies, but who owns the liability proceeds.”

 La. World Exposition, Inc. v. Fed. Ins. Co.(In re La. World Exposition, Inc.), 832 F.2d 1391,

 1399 (5th Cir. 1987).

        In In re Edgeworth, the debtor owned a malpractice insurance policy and claimed the

 debtor’s estate’s ownership of such policy prevented persons alleging the debtor’s malpractice to

 proceed outside the bankruptcy court to collect under the policy. The debtor relied on the

 doctrine that, in general, insurance policies are, under 541(a), property of the estate. The court

 ruled against the debtor, stating: “[t]he overriding question when determining whether insurance

 proceeds are property of the estate is whether the debtor would have a right to receive and keep

 those proceeds when the insurer paid on the claim.” 993 F.2d 51, 55-56 (5th Cir. 1993). “When

 a payment by an insurer cannot inure to the debtor's pecuniary benefit, then that payment should

 neither enhance nor decrease the bankruptcy estate.” Id.

        In the Motion to Transfer, UOB generically asserts that “almost the entire value of the

 bankruptcy estate consists of the insurance policies at issue” and/or that “most” of the Debtor’s

 estate manifests in the Insurance Policies. [Doc. 47, pp. 9, 14]. However, UOB does not claim



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 that, assuming, arguendo, that any claims related to the Construction Defect Action are covered,

 that it has any right to receive and keep any of the proceeds of the Insurance Policies. UOB

 indisputably does not have any such right, as the policies are all third party liability policies.

 Further, there are no allegations that any of the claims arising from the Construction Defect

 Action exceed the maximum coverage under the CIP. Thus, assuming coverage is established,

 there is no reason to believe that the proceeds from the Insurance Policies are insufficient to

 cover the existing claims against UOB.

        Accordingly, because the proceeds of the third party liability policies at issue in this

 Coverage Action would not likely be deemed property of the Debtor’s estate, the Coverage

 Action should not be transferred to the Bankruptcy Court.

 II.    TRANSFERRING THE CASE TO TEXAS BANKRUPTCY COURT DOES NOT
        SERVE THE INTEREST OF JUSTICE.

        While the fact that UOB chose a Florida court as its initial venue should be dispositive of

 the issue, UOB’s Motion to Transfer Venue should be denied for the additional reason that UOB

 has failed to meet its burden in showing that transferring the case to Texas Bankruptcy Court

 would serve the interest of justice in consideration of the following seven (7) factors set forth by

 courts in the Middle District of Florida:

        Plaintiff's initial choice of forum, convenience of the parties and witnesses,
        relative ease of access to sources of proof, availability of compulsory process for
        witnesses, location of relative documents, financial ability to bear the cost of the
        change, and all other practical problems that make trial of the case easy,
        expeditious, and inexpensive.

 Sterling, 519 F. Supp. 2d at 1204.

        First, UOB’s initial choice of forum is Florida. Second, as to the factors regarding

 convenience of the parties and witnesses, relative ease of access to sources of proof, availability

 of compulsory process for witnesses, and location of relative documents, UOB’s Motion to

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 Transfer Venue seems to conveniently forget that UOB was involved in the construction of the

 Project, a 306-unit apartment complex, in Osceola County, Florida. The place of occurrence of

 material events indisputably favors retaining venue in the Middle District of Florida. Moreover,

 UOB has failed to specifically identify any of its key witnesses or outline the substance of their

 testimony that would weigh in favor of a transfer of the Coverage Action to Texas. See Moto

 Photo, Inc.. v. K.J. Broadhurst Enters., No. 3-01-CV-2282-L, 2003 U.S. Dist. LEXIS 1955, at

 *12 (N.D. Tex. Feb. 10, 2003) (a party seeking transfer based upon the convenience of witnesses

 "must specifically identify the key witnesses and outline the substance of their testimony.").

        Finally, with respect to the remaining two (2) factors, financial ability to bear the cost of

 the change and all other practical problems that make trial of the case easy, expeditious, and

 inexpensive, as noted supra, the Texas Bankruptcy Court would likely not ever exercise

 jurisdiction to enter a final judgment in this Coverage Action. Thus, a transfer of this case would

 only multiply, not decrease, litigation costs for the parties.

                                           CONCLUSION

        UOB has failed to establish by a preponderance of the evidence that transfer to the Texas

 Bankruptcy Court is in for the convenience of parties and witnesses in the interest of justice. For

 the foregoing reasons, Navigators respectfully requests that this Court deny UOB’s Motion to

 Transfer Venue.

 Dated: September 26, 2018

                                                Respectfully submitted,

                                                /s/ Chelsea C. Harrison, Esq.
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                                              Insurance Company

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 26th day of September, 2018, I electronically filed

 the foregoing with the Clerk of the Court using the CM/ECF electronic notification system,

 which will send a notice of electronic filing to all parties of record.


                                              /s/ Chelsea C. Harrison, Esq.
                                              CHELSEA C. HARRISON, ESQ.
                                              Florida Bar No.: 98536




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